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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA
In Re: Oil Spill by the Oil Rig MDL No. 2179
“Deepwater Horizon” in the
Gulf of Mexico, on
April 20, 2010 Section: “J”
This Document Relates to: 2:12-cv-00067 Judge Barbier

Mag. Judge Shushan

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PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION TO REMAND

MAY IT PLEASE THE COURT:
The Plaintiffs Rory Degeyter, Hillard Doucet and Shawn Polkey, with all due
respect to this Honorable Court, submit this Memorandum in Support of their Motion to

Remand the Petition for Damages to Lafourche Parish, Louisiana after the Defendants BP

America Production Company and BP Exploration & Production, Inc. [collectively
referenced as BP] removed it asserting exclusive Federal jurisdiction under the Outer
Continental Shelf Land Act (OCSLA), 43 USCA 1349 (b) (1).

The Petition for Damages!

The Plaintiffs filed a State action against Danos and Curole Staffing, L.L.C.
(Danos) and both the BP entities, asserting that Danos was a Louisiana Company. (id at
paragraph I) The Plaintiffs further alleged that each of them entered a Master Charter
Agreement with the BP entities for a fixed rate. (id at paragraphs [JI-V). The Plaintiffs
contended the charter agreement required written notice of termination. (id at paragraph
VI). Danos was specifically identified as:

Defendant Danos and Curole Staffing, L.L.C., at all relevant
times herein, administered the Vessel of Opportunity
(V.O.0.) Program as the agent of Defendants BP
Exploration & Production, Inc. and BP America Product

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Company, including controlling assignments of the vessels
and paying invoices of the V.O.O. participants. (id at
paragraph VII).

The Plaintiffs averred that the Defendants ceased payments to them (id at
paragraphs VIII and IX) but that BP’s agent Danos:

Represented to the Plaintiffs at the time of “decon” between
September 17-20, 2010 they should remain on “standby”
until they received written notice from Defendants BP
Exploration & Production Inc. and/or BP America Product
Company. Furthermore, Defendant Danos and Curole
Staffing, L.L.C. represented to the Plaintiffs they would be
paid according to the contract, until written notice was
received.

The Plaintiffs’ specifically pled reliance upon the (mis)representations of Danos
and sought recovery of the money owed by all defendants until they received written
termination, months later. (id at paragraphs X-XV).

The Plaintiffs” Affidavits”

The Plaintiffs, in connection with their Motion to Remand, submit their affidavits,
which provide:
Affiant is the captain and owner of the motor vessel, T
Rozo, in the attached photograph (State Registration
Number LA 8211 FM). Affiant entered a charter agreement
through Danos & Curole Staffing, L.L.C. for marine work in
the inland bays and bayous of Lafourche and Jefferson
Parish (Primarily Lake Raccourci and Caminada Bay). At
no time was he directed nor did he conduct marine work

beyond 3 miles from the lawful Louisiana coastal border.

The Defendant, Danos & Curole Staffing, L.L.C. contacted

the affiant directly for the above described marine services.

* See Exhibit 1, in globo.

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The Defendant, Danos & Curole Staffing, L.L.C. required
that the affiant sign daily log sheets on their letterhead
and/or forms to verify work done on a daily basis for every
day work was conducted. All compensation for the marine
work conducted by Affiant was provided by and through
Defendant, Danos & Curole Staffing, L.L.C.

Additionally, to dispel any notion that BP would utilize the Plaintiffs “skiffs” on
the Outer Continental Shelf are pictures of the respective vessels. (id)

Discussion

The only question presented by the Plaintiffs’ Motion to Remand is the reach and
potential application of the OCSLA. The Master Vessel Charter Agreement® provides:

Article 2. Employment and Services of Vessel

A. During each CHARTER TERM, the VESSEL shall be
employed exclusively for CHARTERER’S use as _ vessel of
opportunity in the carriage of CHARTERER’S employees,
contractors, business invitees, equipment and provisions and
in the performance of various tasks associated with oil spill
response and containment efforts as directed by
CHARTERER (hereinafter referred to as SERVICES).
Such SERVICES shall include, but not be limited to,
tending or deploying boom and skimming equipment,
skimming operations, recovering oiled debris, collecting
garbage, assistance with wildlife operations and towing
equipment. The VESSEL shall be required to attend
training, participate in training exercises and drill to receive
the necessary oil spill clean up credentials as appropriate to

develop skills and procedures for oil spill response and

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containment. The VESSEL shall be available and at
CHARTERER’s disposal for operation twenty-four (24)
hours per day. The VESSEL shall not be used for any
purpose other than performance of SERVICES during the
CHARTER TERM. (id at page 16 of 43).

The Plaintiffs suggest that the maritime activities delineated in the Charter
Agreement do not provide suitable specificity to conclude the moving defendants* have
satisfied the test for determining whether Federal OCSLA jurisdiction exists in a breach
of contract action. The “focus of the contract test” was set forth in Grand Isle Shipyard,

Inc. v. Seacor Marine, L.L.C. 589 F.3d 778, 781 (5" Cir. 2009):

“This test looks to where the contract contemplates
that most of the work will be performed: if a majority of
the performance called for by the contract is on stationary
platforms on the OCS, that is the situs of the controversy
for purposes of determining whether the law of the adjacent
state applies.....[i]f a majority of the work called for by the
contract is aboard Vessels on Navigable Waters on the

OCS, this is the situs of the controversy. We hold the

focus-of-the-contract test is the appropriate test to apply in
determining the situs of the controversy in contract

cases....”

In this case the Plaintiffs operated under the Charter Agreement as “boom
tenders” and never left the navigable waters of Louisiana. Under the focus-of-the-
contract test and founded upon the actions of the Plaintiffs operating under the imprecise
Master Charter Agreement, the OCSLA does not govern the Plaintiffs’ Petition for
Damages. The OCSLA provides two jurisdictional provisions germane to the instant

* “The removing party bears the burden of proving the Court has jurisdiction to hear the
claim.” Jernigan v. Ashland Oil. Inc. 989 F.2d 812, 815 (5" Cir. 1993)

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inquiry, namely, 43 USCA 1333 (A) (1) and 42 USCA 1349 (b) (1), which provide,

respectively,

“The Constitution and laws and civil jurisdiction of
the United States are extended to the subsoil and seabed of
the Outer Continental Shelf and to all artificial islands, and
all installations and other devices permanently or
temporarily attached to the seabed, which may be erected
thereon for the purpose of exploring for, developing, or
producing resources therefrom, or any such installation or

other device (other than a ship or a vessel) for the purpose of

transporting such resources, to the same extent as if the
Outer Continental Shelf were an area of exclusive Federal

jurisdiction located within a state” [Emphasis added]; and

“The District Courts of the United States shall have
jurisdiction of cases and controversies arising out of, or in
connection with (a) any operation conducted on the Outer
Continental Shelf which involves exploration, development
or production of the materials of the subsoil and seabed of
the Outer Continental Shelf, or which involves the rights to

such minerals.”

In Demette v. Falcon Drilling Co. 280 F.3d 492, 496 (5™ Cir. 2002) the Fifth
Circuit determined under 43 USC 1331 that the OCSLA situses did not include a ship or
a vessel. Under 43 USCA 1349 the Fifth Circuit has developed a “but for” test as

explained in Tennessee Gas Pipeline v. Houston Casualty Insurance Co. 87 F.3d 150 (5"

Cir. 1996) to determine if an injury arose in connection with an OCSLA operation. In

this case the Plaintiffs’ economic injuries received from the misrepresentation by BP’s

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agent to remain ready for work [tending booms] is far too attenuated from the Deepwater

Horizon’s Operation on the Outer Continental Shelf to confer Federal jurisdiction.”

In Lopez v. Air Logistics, L.L.C. 2002 WL 356 305 (ED La. 2002) the District
Court granted the Plaintiffs Motion to Remand a Maritime Claim despite the

Defendant’s claim of OCSLA Jurisdiction.° The Court in Lopez relied upon Hufnagel v.
Omega Service Industries, Inc. 182 F.3d 340, 351 (5" Cir. 1999) in which the Fifth

Circuit “strongly suggested the OCSLA does not provide removal jurisdiction in general

maritime cases, in the absence of diversity.” Lopez at p. 5.

District Judge Feldman in Auguilard v. Chevron, U.S.A. 1993 WL 515764 (ED

La. 1993) granted a Motion to Remand in a multiple defendant case where both general

maritime law and the OCSLA were implicated by the pleadings.’

This Honorable Court in In Re: Oil Spill by Oil Rig Deepwater Horizon in Gulf of
Mexico on April 20, 2010 747 F. Supp. 2d 704 (ED La. 2010) denied the State of
Louisiana’s Motion to Remand under 43 USCA 1349 [the “catch all jurisdiction] when it

wrote:

Il. Admiralty Jurisdiction

[5] Plaintiff argues that even if § 1349(b)(1) gives this court
original jurisdiction over this matter, maritime law requires
this case to be remanded. Title 28 U.S.C. § 1441(b) states
that “any civil action of which the district courts have

original jurisdiction founded on a claim or right arising

° See Landry v. Island Operating Company, Inc. Civ. No. 09-1051 (W.D. La. Sept. 30
2009).

° “Although OCSLA applies to all claims arising on the Shelf, it does not displace general
maritime law if it is otherwise applicable.”

7 “Plaintiffs claim against the vessel owner states a maritime tort because of the well
settled rule that, absent some sort of overreaching, a plaintiff is a master of his
complaint...Under the savings to suitors clause, 28 USC 1333,....the suit cannot be
removed to Federal Court without some basis for Federal jurisdiction other than the
cases’ maritime character.”

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under the ... laws of the United States shall be removable.”
“Any other such action shall be removable only if none of
the parties in interest properly joined and served as
defendants is a citizen of the State in which such action is
brought.” 28 U.S.C. § 1441(b). It is well settled that
maritime law claims do not arise under the laws of the
United States. See In re Dutile, 935 F.2d 61, 63 (Sth
Cir.1991) (citing Romero v. Int'l Terminal Operating Co.,
358 U.S. 354, 79 S.Ct. 468, 3 L.Ed.2d 368 (1959)). It is
therefore true that unless a defendant is not a citizen of the
state in which the action was brought, § 1441(b) does not
allow maritime law claims to be removed to federal court.
This is true even if the court has both OCSLA and admiralty
jurisdiction because the Fifth Circuit has not determined that
finding that a court has OCSLA jurisdiction is synonymous
with finding that a plaintiff's claim arises under the laws of
the United States. See Tenn. Gas Pipeline, 87 F.3d at 156;
See also Walsh v. Seagull Energy Corporation, 836 F.Supp.
411, 417-18 (S.D.Tex.1993); Rivas v. Energy Partners of
Delaware, No. Civ. A. 99-2742, 2000 WL 127290, *5
(E.D.La. Feb. 1, 2000) (stating “the Fifth Circuit has never
held that where OCSLA and general maritime law overlap,
the case is removable without regard to citizenship”); 28
U.S.C. § 1441(b). Nevertheless, Defendants in this matter
are not citizens of Louisiana (the state in which the action
was brought). Therefore, because this court has original
jurisdiction under § 1349(b)(1), it does not matter whether
Plaintiff's claims arise under the laws of the United States.
This matter is removable because “none of the parties in
interest properly joined and served as defendants is a citizen

of the State in which such action is brought.” 28 U.S.C. §

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1441(b). The remainder of Plaintiff's arguments related to
admiralty jurisdiction are premised on what law should
apply. Despite Plaintiffs claims, nothing Plaintiff cites
indicates that a discussion of these issues would have any
bearing on whether this Court has jurisdiction over this
matter. Further, having determined that a decision that
admiralty jurisdiction applies would not affect the Court's
jurisdiction determination, a decision on whether state,
admiralty, or other law applies does not need to be

addressed at this time.

Itis arguable that this Honorable Court did not entirely rest its Remand Ruling on
the OCSLA, but found diversity of citizenship to also control the thought process of the
tribunal.

In this case the Court is faced with a non-diverse Defendant/Agent of BP making,
it is alleged, misrepresentations as to the term of the Master Charter Agreement, which
does not delineate a zone of service for the hired vessels. The Plaintiffs suffered
economic injury from a state law tort by an agent of BP. The Plaintiffs, under the Master
Charter Agreement, were “boom tenders” whom never left the navigable waters of
Louisiana. The relationship between the BP Operation on the OCSLA and the Plaintiffs
tending oil spill booms in the navigable waters of Louisiana wherein turn they are lied to
by non-diverse agents of BP is far too tenous to support Federal jurisdiction under the
Fifth Circuit’s “but-for” test. Therefore, the Plaintiffs’ Motion to Remand should be
GRANTED.

Respectfully submitted,

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